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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN


 UNITED STATES OF AMERICA

              v.                                       Case No.: 24-cr-50-JDP

 STEVEN ANDEREGG,

                      DEFENDANT.


                   GOVERNMENT NOTICE OF EXPERT TESTIMONY


      Pursuant to the Court’s Order, see Dkt. 59, the United States of America hereby

provides to the defendant the disclosures required by Rule 16(a)(1)(G) of the Federal Rules

of Criminal Procedure pertaining to the anticipated expert testimony at the trial in this

matter of Digital Evidence Specialist Ryan Rickaby and Digital Investigative Analyst

Chancey Davis. The United States further requests reciprocal expert disclosure from the

defendant pursuant to Rule 16(b)(1)(C).


      Dated this 13th day of December, 2024


                                           Respectfully submitted,

                                           STEVEN J. GROCKI
                                           Chief, Child Exploitation & Obscenity Section

                                     By:         /s/

                                           WILLIAM G. CLAYMAN
                                           ROSS B. GOLDMAN
                                           Trial Attorneys
